          Case 3:23-cr-01609-JO Document 35 Filed 09/06/23 PageID.75 Page 1 of 2



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 5
 6                            UNITED STATES DISTRICT COURT
 7                          SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                        Case No.: 23-cr-1609-JO
10                                       Plaintiff,
                                                      ORDER CONTINUING MOTION
11   V.                                               HEARING/TRIAL SETTING

12   HOI TRUNG HO,
13                                     Defendant.
14
15          On August 28, 2023, the parties filed a Joint Motion to Continue the Motion
16   Hearing/Trial Setting currently set for September 8, 2023 to November 3, 2023. For good
17   cause appearing, the Court GRANTS the joint motion to continue [Dkt. 34] and sets the
18   Motion Hearing/Trial Setting on November 3, 2023 at 1:30 p.m.
19          For the reasons set forth in the joint motion, the Court finds that the ends of justice
20   will be served by granting the requested continuance, and these outweigh the interests of
21   the public and the defendant in a speedy trial. Accordingly, the delay occasioned by this
22   continuance is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A).
23   II
24   II
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27   II
28   II


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        Case 3:23-cr-01609-JO Document 35 Filed 09/06/23 PageID.76 Page 2 of 2



 I         Further, on August 24, 2023, the Defendant filed a pretrial motion that remains
 2   pending. Accordingly, the Court finds that time from August 24, 2023 to November 3,
 3   2023 shall be excluded under the Speedy Trial Act on grounds that a pretrial motion is
 4   pending. 18 U.S.C. § 3161(h)(l)(D).
 5         IT IS SO ORDERED.
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     Dated:          ¼ /----c----;~
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                                                                DISTRICT JUDGE
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